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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                               CASE NO.: 1:21-CV-21079-Bloom


 SECURITIES AND EXCHANGE COMMISSION,

        Plaintiff,

 v.

 MINTBROKER INTERNATIONAL, LTD.,
 f/k/a SWISS AMERICA SECURITIES LTD.
 and d/b/a SURETRADER, and
 GUY GENTILE, a/k/a GUY GENTILE NIGRO,

       Defendants.
 ___________________________________________/

  PLAINTIFF’S MOTION FOR ALTERNATE SERVICE OF PROCESS, OR, IN THE
 ALTERNATIVE, FOR A 90-DAY EXTENSION OF TIME TO EFFECTUATE SERVICE

        Plaintiff Securities and Exchange Commission (the “Commission”), pursuant to Rules
 4(e)(1) and 4(h)(1) of the Federal Rules of Civil Procedure, moves the Court for an order approving
 alternate service of process on Defendants Guy Gentile, a/k/a Guy Gentile Nigro (“Gentile”) and
 Mintbroker International, Ltd., f/k/a Swiss America Securities Ltd. and d/b/a SureTrader
 (“SureTrader”), or in the alternative, for an additional 90-day extension of time to effectuate
 service. As grounds for this Motion, the Commission states:
                                    I.      INTRODUCTION
        From the very day that this case was filed, Defendants Gentile and SureTrader had actual
 notice of its existence, as evidenced by their counsel’s quoted statements to a national publication
 about the lawsuit. Yet Defendants have repeatedly refused to accept or waive service of process,
 avoiding service of process at an address in Puerto Rico Gentile himself disclosed on EDGAR and
 in court filings, and that is listed in Puerto Rican real property records as owned by Gentile. The
 Commission has repeatedly, diligently, and in good faith attempted service of process on Gentile
 and SureTrader since the lawsuit was initiated. Gentile and SureTrader should not be permitted to
 delay this case any further, and the Commission should be granted leave to effectuate service
 through alternate means. For Gentile, the Commission seeks to serve by publication and e-mail;

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 for SureTrader, the Commission seeks an order from this Court directing the clerk to send the
 Complaint and Summons by mail (such as FedEx) with signed receipt pursuant to Fed. R. Civ. P.
 4(f)(2)(C)(ii). In the alternative, with respect to Gentile, the Commission requests that the Court
 (a) provide the Commission an additional 90 days to effectuate service, (b) direct service by the
 U.S. Marshall pursuant Fed. R. Civ. P. 4(c)(3), and (c) allow limited discovery on Gentile’s
 whereabouts. With respect to SureTrader, we seek an order allowing for service under the Hague
 Convention.
                                     II.    BACKGROUND
        1.      On March 22, 2021, the Complaint was filed against Defendants, and the
 Summonses were issued for Gentile and SureTrader.
        2.      On March 22, 2021, Law360.com published an article regarding this newly filed
 lawsuit, and Adam Ford, Esq., who served as counsel for Gentile in prior litigation and with whom
 the Commission previously had communicated about the instant litigation, was identified as “an
 attorney representing Gentile” and quoted in the story. A true and correct copy of the Law360.com
 article is attached as Exhibit A.
        3.      On March 31, 2021, counsel for the Commission emailed Ford to inquire whether
 Gentile would accept service of the Complaint on behalf of himself and SureTrader. Ford did not
 respond to the March 31, 2021, request. See Declaration of Alice Sum, Trial Counsel for the
 Commission, at ¶¶ 3-4, a true and correct copy of which is attached as Exhibit B.
        4.      On April 5, 2021, the Commission engaged APEX Surveillance and Investigations
 (“ASI”), a private investigative firm located in St. Petersburg, Florida for assistance in serving
 Gentile and SureTrader with process. Id. at ¶ 5.
        5.      On April 10, 2021, ASI conducted extensive research and investigation to locate
 potential addresses for the Defendants. In conjunction with the information provided by the
 Commission, ASI determined that Gentile was likely located in Puerto Rico, and the plan was to
 serve Gentile in both his personal capacity and as owner, director, and CEO of SureTrader. See
 Declaration of Thiry “Ty” Larkin dated September 17, 2021 at ¶5-8, a true and correct copy of
 which is attached as Exhibit C.
        6.      On April 16, 2021, ASI hired a process server located in Puerto Rico, CIG LLC
 (“CIG”), for assistance to confirm residency of Gentile and serve Defendants. Id. at ¶ 7.
        7.      Between ASI and CIG’s research, along with information from the Commission,
 CIG proceeded with service of process at 105 Ave. De Diego, Apt. S-2202, San Juan, PR 00911.
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        8.      CIG made multiple attempts of service of the Complaint as follows:
                a.     The first attempt occurred on April 23, 2021, 9:52 a.m. The Process Server
 (“PS”) went to the address provided (105 Ave. De Diego Apt. S-2202, San Juan, PR 00911) in
 order to serve Gentile and SureTrader. Once in location, the PS realized the address should have
 been 103 Ave. De Diego, which is the private condominium called Gallery Plaza next door. The
 condominium building is well guarded with much security. The PS gained access to the building
 and went to the elevators. Once inside, the PS saw that the elevator only went to the 5th floor
 which is an office floor, garage, and basement. The PS returned to the lobby where she found a
 sign that indicated where other elevators are located. These elevators give access to Gallery Plaza
 residences. On her way to the elevators, the PS could not get through because there is a locked
 door. The door has no intercom to ask for access to the residences. There was no security guard
 at this door. The PS waited outside the door for a few minutes to see if somebody came out and
 she could gain access to the residences, but nobody did. Without further information, the PS filled
 out the report and left the area afterwards. See Affidavits of Non-Service of Arlin Molina at ¶ 1,
 true and correct copies of which are attached as Exhibit D.
                b.     The second attempt occurred on April 30, 2021, 7:30 a.m. The PS went to
 103 Ave. De Diego Apt. S-2202, San Juan, PR 00911 in order to serve Gentile and SureTrader.
 Once in location, the PS canvassed the area, but she did not see Gentile. The PS confirmed it is a
 very exclusive place and entrance is not allowed unless you are resident or have an authorization
 of the resident. (According to Horizontal Property Regulation in Puerto Rico, no visitor is allowed
 to enter unless there is a special permit or the resident authorizes him/her. In condominiums,
 regulations are stricter and the entrance can be prohibited, even though the person has a legal
 document to deliver.) The PS searched in the lobby, but there was no sign of Gentile. The PS
 searched in the Starbucks area but here was no sign of Gentile. The PS entered Starbucks and
 there was no presence of Gentile. No security guard was in the area, and the PS could not gain
 access to the apartments since there is a door that separates the lobby from the elevators. Access
 to the elevator requires a magnetic key. Without further information, the PS filled out the report
 and left the area afterwards. See Affidavits of Non-Service of Jesinette Breton at ¶ 1, true and
 correct copies of which are attached as Exhibit E.
                c.     A third attempt occurred on May 7, 2021, 7:20 a.m. The PS went to 103
 Ave. De Diego Apt. S-2202, San Juan, PR 00911 in order to serve Gentile and SureTrader. Once
 in location, the PS canvassed the area and found another entrance to the apartments, which was
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 closed and had an intercom and a sensor to slide a magnetic card-key. The PS pressed the intercom
 but it went blank and nobody talked back to the PS. Then, the PS went to the fifth floor where the
 gym and spa are located. At the time, the spa was closed and the gym was opened so the PS
 proceeded to go to the gym. Once in the gym, the PS canvassed the area, but did not see Gentile.
 Then, the PS returned to the lobby where she attempted to gain access to the apartments’ elevators
 but again the door was locked, so the PS sat in front of Starbucks to see if she could spot Gentile,
 but during all the time that she stood outside the Starbucks there was no activity of Gentile. Before
 leaving, the PS canvassed the area unsuccessfully for a security guard. The PS waited a few
 minutes outside the door to see if anybody came out and in that way gain access to the building,
 however nobody came out. Without further information, the PS filled out the report and left the
 area afterwards. Id. at ¶ 2.
        9.       Because these attempts to serve Defendants were unsuccessful, CIG suspended
 further attempts pending additional research and investigation to determine alternate addresses.
 Larkin Declaration at ¶ 10.
        10.      Both ASI and CIG performed further research and investigative methods to locate
 Gentile including, but not limited to, searching public records, social media, various databases, the
 internet, and motor vehicle records. Declaration of Fernando Fernandez at ¶¶ 8, a true and correct
 copy of which is attached as Exhibit F.
        11.      On May 4, 2021, Gentile filed a Schedule 13G/A (beneficial ownership report) on
 the Commission’s Electronic Data Gathering, Analysis, and Retrieval system (“EDGAR”)
 identifying his “Address of Principal Business Office or, if none, Residence” as “103 Ave. De
 Deigo [sic], San Juan, Puerto Rico 00911.” A true and correct copy of the Schedule 13G/A is
 attached as Exhibit G.
        12.      The Schedule 13G/A filed by Gentile contains two notable certifications:
              a. After reasonable inquiry and to the best of my knowledge and belief, I certify that
                 the information set forth in this statement is true, complete and correct.
              b. Attention: Intentional misstatements or omissions of fact constitute Federal
                 criminal violations (See 18 U.S.C. 1001) [bold in original]
        13.      A search of Puerto Rico’s real property records reflects that Gentile is the owner of
 103 Ave. De Diego Apt. S-2202. Larkin Declaration at ¶ 19.
        14.      On May 19, 2021, counsel for the Commission again emailed Ford to inquire
 whether he was authorized to accept service of the Complaint for Gentile and SureTrader and
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 provided a Notice of Lawsuit and Waiver of Summons forms for Gentile and SureTrader.
 Declaration of Sum at ¶ 6.
           15.   On May 20, 2021, Ford responded by email and stated, “I am not authorized to
 accept service.” Id. at ¶ 7.
           16.   On May 28, 2021, counsel for the Commission directly sent Gentile and SureTrader
 separately Notices of Lawsuit and Waiver of Summons forms via UPS. Id. at ¶ 8.
           17.   On June 1, 2021, the UPS packages to Gentile and SureTrader were delivered. Id.
 at ¶ 9.
           18.   As of the date of this Motion, Gentile and SureTrader have not returned the Waiver
 of Summons forms to Commission counsel. Id. at ¶ 10.
           19.   Additionally, ASI is also investigating and researching whether Gentile may be
 located in the Bahamas, New York, or Miami, but to date, ASI has not uncovered information that
 places him in those locations as of the date of this Declaration. Larkin Declaration at ¶ 12.
           20.   CIG located a secondary residence possibly being rented by Gentile at
 Condominium San Geronimo Ave. Ashford 860, Apt. 9B, San Juan, PR (“Secondary Residence”).
 Puerto Rico real property records do not reflect the possible secondary residence as owned by
 Gentile, however. Fernandez Declaration at ¶ 12.
           21.   A fourth attempt at service occurred on June 11, 2021, 1:00 p.m. at the Secondary
 Residence. The PS surveilled the parking and entrance area for several hours to look for Gentile
 and his motor vehicle(s) but did not see him. See Affidavit of Non-Service of Xenya Rivera at ¶
 1, true and correct copies of which are attached as Exhibit H.
           22.   A fifth attempt occurred on June 16, 2021, 7:00 p.m. at the Secondary Residence.
 The PS again surveilled the parking and entrance area for several hours to look for Gentile and his
 motor vehicle(s) but did not see him. Id. at ¶ 2.
           23.   A sixth attempt occurred on June 17, 2021, 6:00 p.m. at the Secondary Residence.
 The PS again surveilled the parking and entrance area for several hours to look for Gentile and his
 motor vehicle(s) but did not see him. Id. at ¶ 3.
           24.   On June 18, 2021, the Commission filed a Motion for a 90-Day Extension of Time
 to Effectuate Service of Process [DE 6], which this Court granted [DE 7], and the current deadline
 for service is September 20, 2021.
           25.   CIG and ASI thereafter resumed their attempts to locate and serve Defendants in
 Puerto Rico.
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            26.   ASI and CIG continued to research and investigate additional information to locate
 Gentile for service of process on Defendants. Larkin Declaration at ¶ 10; Fernandez Declaration
 at ¶ 16.
            27.   During their additional research and investigation, CIG and ASI determined that
 Agatha Gonzalez Piferrer Diaz was the girlfriend or wife of Gentile and had children with him,
 and they decided to also look for Diaz to locate Gentile. Larkin Declaration at ¶ 11.
            28.   Diaz sells clothing on https://poshmark.com/, and an item of clothing was
 purchased from her in early July 2021. On July 9, 2021, Diaz mailed the item out and used the
 return address of “103 Ave de Diego Apt 2202, South Tower Gallery Plaza, San Juan PR 00911-
 3524.” Id. at ¶ 14.
            29.   On July 23, 2021, CIG conducted surveillance from 6:00 a.m. until 2:00 p.m. at the
 Secondary Residence, but neither Gentile nor Diaz were observed. Rivera Affidavit at ¶ 4.
            30.   Given the difficulties locating and serving Gentile to date, the process server went
 to several police authorities in order to seek assistance with accessing Gentile’s building and
 serving him. The process server went to the San Juan Municipal Police, the San Juan State Police,
 the Tourist State Police of San Juan, and the Municipal Tourist Police of San Juan on July 27, 28,
 29, and 30, 2021, respectively, but all four indicated that they are not allowed to intervene and
 could not help with service of process. Molina Affidavit at ¶ 2.
            31.   The Commission then decided to use a second process server to attempt service at
 the Secondary Residence given the difficulties experienced by CIG. The second process server
 attempted service on August 5, 2021, at the Secondary Residence. When she identified herself
 and asked for Gentile, the security guard advised that “he cannot offer information whether the
 person lives at the location” and was “rude, did not want to allow [her] access.” On August 6,
 2021, the second process server attempted to speak with the administrator for the Secondary
 Residence condominium building, whom she saw arrive at the building. However, when the
 process server asked to speak with the administrator, the security guard denied that the
 administrator was on site, and did not allow the process server access to the building. See Affidavit
 of Non-Service of Juana Guerra at ¶¶ 1-2, true and correct copies of which are of which is attached
 as Exhibit I.
            32.   Thereafter, CIG resumed its service attempts.
            33.   The process server went to the Secondary Residence on August 14, 2021, and asked
 for access to Apt. 9B to see Gentile, but the security guard denied access. Breton Affidavit at ¶ 3.
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        34.     The process server went to the 103 Ave. de Diego address on August 15, 2021, and
 asked to see Guy Gentile. The security guards told the process server that Gentile has rented the
 apartment to a family and denied access to the apartment. Id. at ¶ 4.
        35.     The process server went to the Secondary Residence on August 16, 2021, and
 interviewed the administrator named Vivian, asking questions about Gentile and his wife/girlfriend
 Agatha Diaz. Vivian advised the process server that she could not give access because she could
 lose her job. The process server spoke with a security guard, who confirmed that Gentile is renting
 the apartment. However, the process server was denied access. Id. at ¶ 5.
        36.     Later that same day, the process server saw Agatha Diaz entering the Secondary
 Residence condominium building. The process server parked her vehicle and walked towards the
 building but was stopped by a police officer. The process server showed the police officer the
 court papers and said she was there because of a service of process that she needed to execute.
 The police officer said that the process server needed to move her vehicle because she was not
 allowed to be parked in the area. When the process server asked for assistance from the police
 officer, they said they could not help. Because Diaz had already entered the building and security
 would not provide access, the process server was not able to execute service. Id. at ¶ 6.
        37.     On August 30, 2021, the process server went to the Secondary Residence, identified
 herself to the security guard, and asked to go to Apt. 9B to see Gentile. The security guard said he
 did not know who Gentile was. Then, the process server asked the guard to call Apt. 9B. The
 guard advised the process server that the “lady on the phone did not know who the [process server]
 was” and “she would not allow the entrance.” The guard told the process server that “not even the
 FBI could enter without authorization.” See Affidavits of Non-Service of Ingrid Figueroa at ¶ 1,
 true and correct copies of which are attached as Exhibit J.
        38.     After this happened, the process server went to the police station to ask an officer
 to accompany her to the Secondary Residence. The process server and the officer encountered a
 different security guard who refused to identify himself. The officer told the guard that the process
 server needed to see Gentile to deliver court documents. The guard said he needed to talk to his
 supervisor because he could not allow the process server to enter without authorization. After
 speaking with his supervisor, the guard told the process server and the officer that “they were not
 authorized to pass unless the resident authorizes the entrance.” The officer told the guard to call
 the resident; the guard called the resident and told the “lady on the phone” that Puerto Rico police
 were at the lobby and wanted to talk to her and deliver some documents to Gentile. The “lady on
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 the phone” responded that she was not coming down or interested in taking the document, and then
 she hung up the phone. As such, the guard told the process server and the officer that they were
 not allowed to enter. The officer then instructed the guard to call back. When the guard called
 back, the person on the phone said “she did not know any Guy Gentile.” The process server asked
 if the guard spoke with Agatha Diaz, but the guard kept silent and did not confirm or deny with
 whom he was talking. The demeanor of the guard indicated that he knew the person/lady on the
 phone and that it was, in fact, Agatha Diaz. After this occurred, the officer told the process server
 that because the documents were not “an order of the Puerto Rico Court, he could not put any more
 pressure on the person.” Id. at ¶ 2.
        39.     Further research was conducted to determine if, in fact, Gentile resides at the 103
 Ave. de Diego address or the Secondary residence. In addition to Gentile identifying the 103 Ave.
 de Diego address in his EDGAR filings, he has also designated it as a service address in active
 litigation in California, case styled Marc Cohodes v. Guy Gentile, California 1st Appellate District,
 Case No. A161721.          In addition, Gentile designated an email address for service,
 guygentile@me.com on April 30, 2021 (after the Complaint in this case was filed), and the
 California appellate court has communicated with Gentile at this email address. Indeed, Gentile
 included the 103 Ave. de Diego address, the guygentile@me.com email address and his phone
 number in a letter he sent to the court (the information was in the letterhead) and the appellate
 court has communicated with Gentile at this same email. See attached Composite Exhibit K,
 containing filings from the California appellate case: Notice of Appearance by Gentile, a letter
 from Gentile to the court, and an email from the court to Gentile.
        40.     With respect to SureTrader, research and investigation was conducted to determine
 the status of the last known address, officers, and agents for the company.
        41.     A search of the Bahamas official corporate records reflects that SureTrader
 (registered in the Bahamas as MintBroker International, Ltd.) is still an active company (last
 licensed year was 2020), and the designated agent and registered office address is Michael C.
 Miller, P.O. Box EE-17971, Nassau, Bahamas. See attached Composite Exhibit L, containing
 search results for MintBroker International, Ltd. from https://www.bahamas.gov.bs/.
        42.     A search of the Securities Commission of the Bahamas Registrant Licensee Status
 at https://www.scb.gov.bs/registrant-licensee-search/ reflects that Swiss America Securities, Ltd.
 is an active registrant as of July 31, 2021, with Gentile listed as the contact person, an address at
 Suite #17, Elizabeth on Bay Plaza, Elizabeth Ave. & Bay St., and an email address for Gentile at
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 guy@suretrader.com. See p. 19 of the attached Exhibit M, a list of the Bahamas SIA (Securities
 Industry Act, 2011) as of July 31, 2021.
        43.     Because service of process could not be effectuated on Gentile individually and as
 director and CEO of SureTrader, the Commission began the process of serving SureTrader through
 the Hague Convention through the Bahamas Central Authority. See Declaration of Sum at ¶ 11.
        44.     The Commission filed the Complaint in this case on March 22, 2021. The
 Commission alleges that from no later than March 2016 until at least November 2019, Defendants
 Gentile and SureTrader operated an offshore broker-dealer in the Bahamas designed to help day
 traders in the United States circumvent the U.S. rules that regulate pattern day trading. While
 SureTrader worked to help U.S. customers circumvent these rules, SureTrader itself was failing to
 comply with the mandatory broker-dealer registration requirements of the U.S. securities laws –
 namely, the federal securities laws that prohibit unregistered foreign broker-dealers from soliciting
 U.S. customers. By failing to comply with the broker-dealer registration requirements, SureTrader
 and Gentile avoided certain regulatory obligations for broker-dealers that govern their conduct in
 the marketplace, including submitting to regulatory inspections and oversight, following financial
 responsibility rules, and maintaining books and records. Through these activities, SureTrader
 violated Section 15(a)(1) of the Securities Exchange Act of 1934, 15 U.S.C. § 78o(a)(1), by acting
 as an unregistered securities broker-dealer. Gentile is liable for SureTrader’s violations as a
 control person under Section 20(a) of the Exchange Act, 15 U.S.C. § 78t(a), and for violating
 Section 15(a)(1) of the Exchange Act, 15 U.S.C. § 78o(a)(1), through or by means of SureTrader
 in violation of Section 20(b) of the Exchange Act, 15 U.S.C. § 78t(b). See Declaration of Jessica
 Weissman, a true and correct copy of which is attached as Exhibit N.
                                   III. MEMORANDUM OF LAW
 A.     Rules and Statutes Governing Service of Process
        In this case, Gentile is a resident of Puerto Rico, based on his own admissions and filings,
 and SureTrader is a limited liability company registered in The Bahamas. Rule 4(e) of the Federal
 Rules of Civil Procedure governs the methods by which service of process may be effected on an
 individual. Rule 4(e) provides:
        (e)     SERVING AN INDIVIDUAL WITHIN A JUDICIAL DISTRICT OF THE
                UNITED STATES. Unless federal law provides otherwise, an individual—
                other than a minor, an incompetent person, or a person whose waiver has
                been filed—may be served in a judicial district of the United States by:


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                 (1)      following state law for serving a summons in an action brought in
                          courts of general jurisdiction in the state where the district court is
                          located or where service is made; or

                 (2)      doing any of the following:

                          (A)    delivering a copy of the summons and of the complaint to
                                 the individual personally;

                          (B)    leaving a copy of each at the individual's dwelling or usual
                                 place of abode with someone of suitable age and discretion
                                 who resides there; or

                          (C)    delivering a copy of each to an agent authorized by
                                 appointment or by law to receive service of process.

  Fed. R. Civ. P. 4(e).

         Rule 4(h)(2) of the Federal Rules of Civil procedure governs the methods by which service
  of process may be effected on a limited liability company:
         (h)     SERVING A CORPORATION, PARTNERSHIP, OR ASSOCIATION.
                 Unless federal law provides otherwise or the defendant's waiver has been
                 filed, a domestic or foreign corporation, or a partnership or other
                 unincorporated association that is subject to suit under a common name,
                 must be served:

                 (2)      at a place not within any judicial district of the United States, in any
                          manner prescribed by Rule 4(f) for serving an individual, except
                          personal delivery under (f)(2)(C)(i).

  Fed. R. Civ. P. 4(h)(2).

         Rule 4(f) of the Federal Rules of Civil Procedure provides:

         (f)     Serving an Individual in a Foreign Country. Unless federal law provides
                 otherwise, an individual—other than a minor, an incompetent person, or a
                 person whose waiver has been filed—may be served at a place not within
                 any judicial district of the United States:

                 (1)      by any internationally agreed means of service that is reasonably
                          calculated to give notice, such as those authorized by the Hague
                          Convention on the Service Abroad of Judicial and Extrajudicial
                          Documents;

                 (2)      if there is no internationally agreed means, or if an international
                          agreement allows but does not specify other means, by a method that
                          is reasonably calculated to give notice:
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                          (A)    as prescribed by the foreign country's law for service in that
                                 country in an action in its courts of general jurisdiction;

                          (B)    as the foreign authority directs in response to a letter
                                 rogatory or letter of request; or

                          (C)    unless prohibited by the foreign country's law, by:

                                 (i)     delivering a copy of the summons and of the
                                         complaint to the individual personally; or

                                 (ii)    using any form of mail that the clerk addresses and
                                         sends to the individual and that requires a signed
                                         receipt; or

                 (3)      by other means not prohibited by international agreement, as the
                          court orders.

  Fed. R. Civ. P. 4(f).

         Rule 4(m) of the Federal Rules of Civil Procedure governs the time limit for service of
  process.
         (m) Time Limit for Service. If a defendant is not served within 90 days after the
         complaint is filed, the court—on motion or on its own after notice to the plaintiff—
         must dismiss the action without prejudice against that defendant or order that
         service be made within a specified time. But if the plaintiff shows good cause for
         the failure, the court must extend the time for service for an appropriate period.
         This subdivision (m) does not apply to service in a foreign country under Rule 4(f),
         4(h)(2), or 4(j)(1), or to service of a notice under Rule 71.1(d)(3)(A).

  Fed. R. Civ. P. 4(m).

         Puerto Rican Rules of Civil Procedure Rule for the General Court of Justice Rule 4.5 (T.
  32 Ap. I, § 4.5), titled “Service by edicts and publication thereof” provides in relevant part:
         (a) The court shall issue an order providing for a summons by publication when the
         person to be served is outside of Puerto Rico or if in Puerto Rico, cannot be located
         although pertinent attempts have been made to locate him/her, or when the person
         goes into hiding to avoid being served, or if it is a foreign corporation with no
         resident agent, and it is proved to the satisfaction of the court through an affidavit
         stating the steps taken, and said statement or sworn complaint filed states that
         justifies the granting of some relief against the person to be served or that said
         person is the proper party in the suit action.

         The return of process, unexecuted, shall not be a prerequisite for an order for
         service by publication.
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         Courts have discretion to determine the appropriate means of service in a given case. U.S.
  Commodity Futures Trading Com'n v. Aliaga, 272 F.R.D. 617, 619 (S.D. Fla. 2011). In exercising
  this discretion, the court must ensure that the alternate service comports with due process
  requirements. Chanel, Inc. v. Lin, 2009 WL 1034627, at *1 (S.D. Fla. Apr. 16, 2009). This means
  that the alternative method of service must provide “notice reasonably calculated, under all
  circumstances, to apprise interested parties of the pendency of the action and afford them an
  opportunity to present their objections.” Aliaga, 272 F.R.D. at 619 (citing, inter alia, Chanel, Inc.
  v. Zhixian, 2010 WL 1740695, at *4 (S.D. Fla. Apr. 29, 2010)).
      B. The Commission Has Diligently Attempted Service on Defendants
         Immediately after the Commission this lawsuit, it attempted in good faith to effectuate
  service of a Complaint that Defendants were on actual notice of the day of the filing. Gentile’s
  counsel took the time to speak with Law360.com to provide quotes for an article about the lawsuit,
  yet failed to respond to the Commission’s counsel requesting that Defendants consent to accept
  service of process. Nevertheless, the Commission diligently attempted to serve Defendants using
  an address (for an apartment in a condominium building) that Gentile himself provided in an
  EDGAR filing and is reflected in Puerto Rico’s real property records.1 The declarations filed with
  the Motion for Extension of Time detailed the multiple service attempts and additional
  investigation and research performed to locate Gentile. After several unsuccessful attempts at
  service, when the Commission again reached out to Gentile’s counsel about waiving service of the
  summons, Gentile’s counsel responded “I am not authorized to accept service.” After the Court
  granted a 90-day extension to serve Defendants, the Commission continued its diligent efforts,
  including further service attempts at both the 103 Ave. De Diego address and the Secondary
  Residence (both condominium buildings), conducting surveillance on Gentile, asking for Puerto
  Rican police officials to assist with service because the security at both condominiums refused to
  allow the process servers access to Gentile’s residences, and continuing investigation and research
  into Gentile’s whereabouts. The Affidavits of Non-Service and Declarations attached to this
  Motion reflect a total of 19 separate attempts at service and surveillance performed by the process
  servers, in addition to extensive research and investigation performed to locate Gentile’s


  1
   The Commission started with service on Gentile in his individual capacity as well as director and
  CEO for SureTrader at his address in Puerto Rico. The reasoning at that time was that service on
  Gentile individually would be necessary regardless, and thus the Commission held off on starting
  service under the Hague Convention, which can be lengthy and costly.
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  whereabouts. Because Gentile could not be served in his individual capacity or as director and
  CEO of SureTrader, the Commission commenced service of process on SureTrader via the Hague
  Convention, but this process is expected to take at least 60 days.
          Defendants have unreasonably delayed this case and should not be able to continue to avoid
  service of process and impede the progress of this case. Defendants are fully aware of the existence
  of this lawsuit, and the Commission proposes alternate service methods that are authorized by law
  and comport with due process concerns for the Court’s consideration.
      C. Alternate Means of Service of Process Are Warranted
          1. Gentile
              a. Service by Publication is Authorized by Puerto Rican Statute.
          Based on the information contained in Gentile’s filings with EDGAR, Puerto Rican real
  property records, and Gentile’s filings with the California 1st District Court of Appeal, the
  Commission continues to believe that Gentile is currently located in Puerto Rico, and thus, the
  Commission has repeatedly attempted to effectuate service of process on Defendants within the
  District of Puerto Rico as permitted under Fed. Rule Civ. P. 4(e)(1). Because the attempts to date
  have been unsuccessful, the Commission seeks to serve Gentile (individually) by publication as
  allowed under Puerto Rican Rules of Civil Procedure Rule for the General Court of Justice Rule
  4.5 (T. 32 Ap. I, § 4.5).
          Rule 4.5 provides:

          (a) The court shall issue
           an order providing for a summons by publication when the person to be served is
          outside of Puerto Rico or if in Puerto Rico, cannot be located although pertinent
          attempts have been made to locate him/her, or when the person goes into hiding to
          avoid being served, or if it is a foreign corporation with no resident agent, and it is
          proved to the satisfaction of the court through an affidavit stating the steps taken,
          and said statement or sworn complaint filed states that justifies the granting of some
          relief against the person to be served or that said person is the proper party in the
          suit action.

          “The affidavit must set forth specific probative facts showing that due diligence has been
  employed to locate defendants, and said statement, or the verified complaint, must properly show
  that plaintiff has a good cause of action.” Union De Periodistas, Artes Graficas y Rama Anexas
  v. The San Juan Star Co., No. Civ. 10–1679(SEC), 2011 WL 280850, *1 (D.P.R. Jan. 25, 2011)
  (citing Senior Loíza Corp. v. Vento Dev. Corp., 760 F.2d 20, 24 (1st Cir. 1985)). Rule 4.5 requires
  that plaintiff's “affidavit . . . or the verified complaint filed states a claim justifying the granting of
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  some relief against the person to be served or that the person to be served is a proper party to the
  action.” Senior Loíza, 760 F.2d at 24. This requirement, is interpreted to mean the party must put
  the court in a position “to ascertain reliably that plaintiff has a good cause of action.” Id.
         The Commission has more than satisfied both affidavit requirements under Rule 4.5. First,
  the Commission has set forth specific probative facts that “due diligence has been employed to
  located defendants.” The Affidavits of the process servers detail the 19 attempts to serve Gentile
  and the extensive investigation, research, and surveillance they performed. Notably, the attempts
  were not merely cursory or perfunctory; in fact, despite security denying entrance to both
  condominium buildings where Gentile is believed to be residing, the process servers returned again
  and again, employing different methods and individuals to gain access.2 The Commission believes
  that it has located Gentile, but it has been unable to serve him because he is in hiding.
  Unfortunately, despite these efforts, the process servers were not able to gain access to both the
  103 Ave. de Diego and Secondary Residence condominium buildings because security denied
  access repeatedly, and the investigator and process servers did not locate any other locations where
  they believe Gentile to be located.
         Second, the Declaration of Jessica Weissman, Assistant Regional Director and the
  investigating attorney for the Commission for this case, lays out the evidence demonstrating that
  the Commission has a good cause of action against Gentile for violations of U.S. securities laws.
  Under the Securities Exchange Act of 1934, a broker – “any person engaged in the business of
  effecting transactions in securities for the account of others” – must be registered with the
  Commission. 15 U.S.C. §§ 78c(a)(4)(A), 78o(a)(1). The Declaration details the specific facts
  showing that SureTrader is effecting transactions in securities for its customers and that it is not
  registered with the Commission. As the person controlling SureTrader, Gentile is liable for its
  violations. 15 U.S.C. § 78t(a). While it would ultimately be Defendants’ burden to prove the
  existence of an exemption from registration, UBS Asset Management (New York) Inc. v. Wood
  Gundy Corp., 914 F. Supp. 66, 79 (S.D.N.Y. 1996), the Declaration nevertheless demonstrates that



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    The process server confirmed that the 103 Ave. de Diego address is “a very exclusive place and
  entrance is not allowed unless you are resident or have an authorization of the resident.” The
  process server explained in her Affidavits that according to “Horizontal Property Regulation in
  Puerto Rico, no visitor is allowed to enter unless there is a special permit or the resident authorizes
  him/her. In condominiums, regulations are stricter and the entrance can be prohibited, even though
  the person has a legal document to deliver.” See Breton Affidavit at ¶ 1.
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  the exemption for certain foreign brokers is inapplicable in light of SureTrader’s solicitation of
  U.S. customers.
         The Commission notes that one of the concerns that may generally weigh against granting
  service by publication – that a defendant does not actually learn of the existence of the lawsuit and
  a plaintiff proceeds to obtain a default judgment – does not apply in the instant case. Gentile has
  known about the existence of this case since the day it was filed, as evidenced by his counsel’s
  quotes in the Law360.com article published the same day the lawsuit was filed and the
  Commission’s two requests to Gentile’s counsel inquiring as to whether he would accept service
  on Defendants’ behalf. Put simply, Gentile is fully on notice of this lawsuit, and there is no risk
  to his due process rights. Accordingly, the Court should grant service of process on Gentile by
  publication as permitted under Rule 4.5.
             b. Alternate Service of Process by Electronic Mail and Mail is Authorized by the
                Federal Rules of Civil Procedure

         In addition to service by publication, to avoid any question as to whether Gentile receives
  the documents, the Commission proposes serving Gentile by electronic mail at the address he
  recently used to correspond with the California Court of Appeals and by mail with a receipt (such
  as FedEx) to his counsel, Adam Ford. Federal courts have held that service by email and by service
  upon counsel satisfies due process where a plaintiff demonstrates that the proposed service is likely
  to notify a defendant of the action. See, e.g., Chanel, Inc. v. Zhixian, No. 10–60585, 2010 WL
  1740695, at *4 (S.D. Fla. Apr. 29, 2010) (authorizing service via e-mail and public
  announcement); TracFone Wireless, Inc. v. Distelec Distribuciones Electronicas, S.A., 268 F.R.D.
  687, 690 (S.D. Fla. 2010) (permitting plaintiff to serve defendant via FedEx and hand-delivery to
  defendant's U.S. attorney); Brookshire Bros. Ltd. v. Chiquita Brands, Int'l, No. 05–21962, 2007
  WL 1577771, at *2 (S.D. Fla. May 31, 2007) (authorizing service on foreign defendants through
  local counsel); Rio Props., Inc. v. Rio Int’l Interlink, 284 F.3d 1007, 1016 (9th Cir. 2002)
  (affirming district court decision to permit service by e-mail and by regular mail to the defendant's
  U.S. subsidiary and U.S. attorney).
         Effectively, the Commission suggests a belt and suspenders approach: Gentile is served by
  publication pursuant to Rule 4.5, by e-mail to the address that he identified in his Notice of
  Appearance to the California 1st District Court of Appeal and which that court has used to
  communicate with him (guygentile@me.com), and by mail to his counsel, Adam Ford, with whom
  the Commission communicated during the investigation of this case. Service on Gentile by email
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  and by mail to his counsel in addition to publication will more than satisfy due process concerns
  by apprising Gentile of the action by all known means (even though he already knows) and giving
  him the opportunity to answer the Commission’s claims.
         2. SureTrader - By the Clerk Via Mail/Postal Channels (Such as FedEx) with Receipt
         The Federal Rules of Civil Procedure provide several methods for serving a defendant in a
  foreign country, including “by any internationally agreed means of service that is reasonably
  calculated to give notice, such as those authorized by the Hague [Service] Convention” and,
  “unless prohibited by the foreign country's law, by using any form of mail that the clerk addresses
  and sends to the individual and that requires a signed receipt.” Fed. R. Civ. P. 4(f)(1), (f)(2)(C)(ii).
  In turn, Article 3 of the Hague Service Convention provides for service of process “through the
  Central Authority of each [destination] country” and “Article 10(a) of the Hague Service
  Convention provides that, if the State of destination does not object, the Hague Convention does
  not change the freedom to send judicial documents, by postal channels, directly to persons abroad.”
  TracFone Wireless, Inc. v. Sunstrike Intern., Ltd., 273 F.R.D. 697, 699 (S.D. Fla. 2011) (Judge
  Martinez) (citing TracFone Wireless, Inc. v. Bequator Corp., Ltd., 717 F. Supp.2d 1307, 1309
  (S.D. Fla. 2010) (Judge Hoeveler)); Barriere v. Juluca, No. 12–23510–CIV, 2014 WL 652831, at
  *2–3 (S.D. Fla. Feb. 19, 2014) (Judge Moreno); Forth v. Carnival Corporation, No. 12–23770–
  CIV, 2013 WL 1840373 (S.D. Fla. 2013) (Judge Seitz); TracFone Wireless, Inc. v. Unlimited PCS,
  Inc., 279 F.R.D. 626, 630-31 (S.D. Fla. 2012) (Judge Ungaro); cf., Kleiman v. Wright, 2020 WL
  5632654 at * (S.D. Fla. Sept. 21, 2020) (Judge Bloom) (holding that service was not perfected
  under the Hague Service Convention because there is no support for serving a domestic defendant
  by mail under Rule 4(f) and there was no return or signed receipt of the “Notice of Listing”
  document).
         Where there are multiple independent bases for international service under Fed. R. Civ. P.
  4, the Court may use its discretion to decide the proper basis for the chosen method of international
  service. Service pursuant to Fed. R. Civ. P. 4(f) does not include a hierarchy of methods of service,
  such that Fed. R. Civ. P. 4(f)(3) is equally acceptable to service under Fed. R. Civ. P. 4(f)'s other
  subsections, and it includes “no qualifiers or limitations which indicate its availability only after
  attempting service of process by other means.” Brookshire Bros., Ltd. v. Chiquita Brands Intern.,
  Inc., No. 05–CIV–21962, 2007 WL 1577771, at *2 (S.D. Fla. May 31, 2007) (citing Rio Props,
  284 F.3d at 1015).


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          The Bahamas is a party to the Hague Service Convention and does not object to service of
  judicial            documents           by         postal          channels.                    See
  https://www.hcch.net/en/states/authorities/details3/?aid=282.     As mentioned previously, the
  Commission started with plans to serve Gentile both in his individual capacity as well as director
  and CEO of SureTrader. After the numerous diligent attempts to serve Gentile, in an abundance
  of caution, the Commission commenced the process of serving SureTrader under the Hague
  Service Convention through a request to the Bahamas Central Authority, but that process is
  expected to take at least 60 days. The Commission thus seeks an order allowing service on
  SureTrader by mail pursuant to Fed. R. Civ. P. 4(f)(1), (f)(2)(C)(ii), specifically that the Court
  enter an order directing that (1) the Commission provide international mail shipping labels (with
  return/signed receipt) and packaging and two copies of the Complaint and Summons to the Clerk
  of the Court and (2) the Clerk send out the package(s).
      D. In the Alternative, the Commission Requests an Additional 90-day Extension of Time
         to Effectuate Service, Service by U.S. Marshal, and Limited Discovery

             If the Court declines to grant the request for alternate service upon Gentile, then the
  Commission respectfully requests a 90-day extension of time to make service of process,3 up to
  and including December 20, 2021. As required by Rule 4(m), the Commission has demonstrated
  good cause for the failure to effectuate service to date, and the Court must extend the time for
  service for an appropriate period. The extension of time would allow for further investigation into
  Gentile’s whereabouts.
         In addition to the extension of time, the Commission requests that the Court issue an order
  (1) directing service by the U.S. Marshal’s Service for the District of Puerto Rico pursuant to Fed.
  R. Civ. P. 4(c)(3); and (2) allowing limited discovery to ascertain additional information as to
  Gentile’s whereabouts. In the absence of alternate service, the Commission would need these
  additional tools in order to effectuate service upon Gentile. Although the process servers used by
  the Commission did seek assistance from Puerto Rico law enforcement officials, and did obtain
  assistance in one instance but was unsuccessful, the Commission believes that a U.S. Marshal
  attempting service at both the 103 Ave. de Diego address and the Secondary Address may be
  beneficial to obtaining access to the condominium buildings. See Advisory Committee Notes to
  Rule 4 (“If a law enforcement presence appears to be necessary or advisable to keep the peace, the

  3
    With respect to SureTrader, Rule 4(m)’s ninety-day time limit does not apply to service in a
  foreign country.
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  court should appoint a marshal or deputy or other official person to make the service.”). With
  leave to conduct limited discovery, the Commission hopes to be able to ascertain with finality
  where Gentile currently resides and additional information that will assist in serving him
  personally.
                                        IV. CONCLUSION
         The Commission’s request should be granted because (1) the Commission has made
  multiple, diligent attempts to locate and serve Defendants despite Gentile avoiding service by
  using an address where public access is not permitted; and (2) the alternate service methods
  comport with due process requirements and are permitted under both Puerto Rican and U.S. law.
  In the alternative, the Commission’s request for an additional 90-day extension of time to effect
  service should be granted.
  September 20, 2021                         Respectfully submitted,


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